                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

HILL-ROM SERVICES, INC.,              )
HILL-ROM COMPANY, INC.,               )
HILLENBRAND INDUSTRIES, INC.,         )
                                      )
            Plaintiffs,               )
                                      )
            v.                        )            1:03CV1227
                                      )
VERSUS TECHNOLOGY, INC.               )
A4 HEALTH SYSTEMS, INC.,              )
HEALTHCARE INFORMATION                )
TECHNOLOGY, INC., SURGICAL            )
INFORMATION SYSTEMS, LLC.,            )
                                      )
            Defendants.               )

                                and

VERSUS TECHNOLOGY, INC.,              )
                                      )
            Plaintiff,                )
                                      )
            v.                        )            1:04CV1116
                                      )
HILLENBRAND INDUSTRIES, INC.,         )
HILL-ROM SERVICES, INC.,              )
HILL-ROM COMPANY, INC.,               )
VISONIC TECHNOLOGIES LTD.,            )
VT AMERICAS, INC., and ELPAS          )
ELECTRO-OPTIC SYSTEMS LTD.,           )
                                      )
            Defendants.               )
                                      )

                            MEMORANDUM OPINION

TILLEY, Chief Judge

      This suit arises from a dispute between Hill-Rom Services, Inc., Hill-Rom




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Company, Inc., and Hillenbrand Industries, Inc. (collectively “Hill-Rom”), and

Versus Technology, Inc. (“Versus”). Currently two separate cases are pending

before this Court: Case Number 1:03CV1227 (“1227 Case”) and Case Number

1:04CV1116 (“1116 Case”). For the foregoing reasons, the pending motions in

the 1227 Case – (1) Hill-Rom’s Motion to Dismiss and/or Strike Versus’ Sixth

Affirmative Defense and Counterclaim Counts II and V [1227 Case, Doc. #30], and

(2) Hill-Rom’s Motion to Amend Complaint to Add Defendant [1227 Case, Doc.

#73] – will be GRANTED. Additionally, in the 1116 Case: (1) Hill-Rom’s Motion to

Dismiss for Failure to Join an Indispensable Party [1116 Case, Doc. #26] is MOOT;

(2) Visonic’s Motion to Dismiss for Lack of Personal Jurisdiction [1116 Case, Doc.

#138] will be GRANTED; (3) Hill-Rom’s Motion to Dismiss Counts II through VI of

Versus’ Complaint [1116 Case, Doc. #140] will be DENIED; (4) Visonic Ltd. and

Visonetix Ltd.’s Motion to Dismiss Party [1116 Case, Doc. #166] will be

GRANTED; and (5) Versus’ Motion for Leave to Amend Complaint to Join a

Necessary Party [1116 Case, Doc. #203] will be GRANTED.

                                           I.

      Hillenbrand, Industries, Inc. (“Hillenbrand”), a Delaware corporation with its

principal place of business in Batesville, Indiana, is a publicly traded holding

company. Defendants Hill-Rom Services and Hill-Rom Company are two of

Hillenbrand’s wholly owned subsidiaries. Both are incorporated in Delaware, with

their principal place of business in Batesville, Indiana. Hill-Rom Company is a major


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supplier – through sales, rentals, and service – of products commonly used in the

health care industry, including beds, therapy surfaces, stretchers, furniture,

communications systems and headwall systems. For several years, Hill-Rom has

also been involved in the sale of “nurse call” systems. “Nurse call” systems are

generally associated with hospital beds and are used to provide notification through

integrated locating systems during patient emergencies. Specifically, Hill-Rom has

marketed and sold the COMposer Communication System, which includes locator

badges, and more recently has developed the COMLinx System, which includes or

uses the COMLinx Local Positing Module.

      Versus Technology is a privately held high-technology company which

develops and manufacturers infrared and radio frequency tracking technologies

commonly used in the “nurse call” systems. Versus sells its locating systems

directly to hospitals and to third-party original equipment manufacturers, such as

Hill-Rom. Versus is the owner or exclusive licensee of four patents involved in this

lawsuit, specifically: (1) United States Patent 5,027,314 entitled “Apparatus and

Method for Positioning Reporting” (the “‘314 Patent”); (2) United States Patent

5,572,195 entitled “Sensory and Control System for Local Area Networks (the

“‘195 Patent”); (3) United States Patent 6,154,139 entitled “Method and System

for Locating Subjects within a Tracking Environment” (the “‘139 Patent”); and (4)

United States Reissue Patent 36,791 entitled “Location System Adapted for Use in

Multipath Environments” (the “‘791 Patent”) (referred to collectively as “Versus


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Patents”).1

      Visonic is an Israeli holding company located in Tel Aviv, Israel. Visonic

owns three companies which manufacture integrated identification and facility

management solutions incorporating local positioning, security, access control, and

asset management. Elpas Electro-Optic Systems (“Elpas”) is one of Visonic’s

wholly owned subsidiaries. Elpas manufacturers a product known as Elpas Local

Positioning System (“Elpas LPS”) which is distributed by VT Americas (“VTA”) to

Hill-Rom for use in Hill-Rom’s COMLinx system. VTA, a Delaware corporation with

its place of business in Bloomfield, Connecticut, is a wholly owned subsidiary of

Elpas and is the sole distributor of Elpas LPS in the United States.

      On December 30, 2003, Hill-Rom Services filed a Complaint in the Middle

District of North Carolina, alleging patent infringement and naming Versus as well

as three of its distributers, A4 Health Systems, Inc. (“A4"), Healthcare Information

Technology, Inc. (“Healthcare IT”), and Surgical Information Systems, LLC (“SIS”)

as defendants.2 According to Hill-Rom, Versus and its distributers infringed on two

of its patents – (1) United States Patent Reexamination Certificate No. RE 35,035



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        Versus is the owner of the ‘139 and ‘314 Patents and the exclusive
licensee of the ‘195 and ‘791 Patents.
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        Hill-Rom alleges that A4 is a Delaware corporation with its principal place
of business in Cary, North Carolina (Am. Compl. ¶3), Healthcare IT is a North
Carolina corporation with its principal place of business in Charlotte, North Carolina
(Am. Compl. ¶4), and SIS is a Georgia limited liability company with its principal
place of business is Alpharetta, Georgia (Am. Compl. ¶5).

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(the “‘035 Patent”) and (2) United States Patent No. 6,462,656 (the “‘656

Patent”) – by “making, selling, offering for sale and using locator systems and

methods embodying at least claims 27 and 31 of the ‘035 patents,” (Am. Compl.

¶12), and “making, selling, offering for sale and using locator systems, methods

and software embodying at least claims 21, 26, 75, and 79 of the ‘656 patent”

(Am. Compl. ¶13). According to Hill-Rom, it filed the complaint in this Court

because Versus and one of its distributers installed an infringing system at Duke

University Hospital located in the Middle District of North Carolina.3

      On March 15, 2004 Versus filed a Complaint in the U.S. District Court for

the Western District of Michigan (the 1116 Case). According to Versus, in early

2000, it began negotiating a relationship with Hill-Rom in which (1) Versus would

grant Hill-Rom a license to use Versus’ patents which Hill-Rom was then infringing;

(2) Hill-Rom would acquire an equity interest in Versus; (3) Versus and Hill-Rom

would execute a development agreement, pursuant to which Versus would overlay

its system on the existing Hill-Rom “nurse call” system and would develop new

products for Hill-Rom over a five-year period; and (4) the parties would execute a

supply agreement providing that Versus would be Hill-Rom’s exclusive supplier of



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         The Complaint, however, was not immediately served on Versus. Rather
on January 6, 2004, a copy of the Complaint and a draft settlement agreement
outlining Hill-Rom’s infringement claim and damages was sent to Versus’ President
and CEO. However, after several exchanges of correspondence, and a failed
meeting between the parties on or about March 5, 2004, the Complaint was
served on Versus.

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locating products for five years. Versus alleges that at Hill-Rom’s urging and upon

repeated reassurances by Hill-Rom that it would subsequently execute the five-year

supply and development agreements, the License Agreement and Stock Purchase

Agreement were executed on September 1, 2000.4 Versus claims, however, that

contrary to these representations, Hill-Rom then refused to finalize the remaining

agreements and instead entered into an agreement to purchase the locating

technology (hardware and software) for its COMLinx Local Positing Module from

Visonic and/or its subsidiaries.5

      Count I of the Amended Complaint in the 1116 Case alleges that Defendants

Hill-Rom and Visonic have infringed at least one claim of each of the ‘314, ‘195,

‘139, and ‘791 Patents by making, using, selling and/or offering to sell COMLinx

outside of the scope of the License Agreement. Versus also alleges claims of

fraudulent misrepresentation, innocent misrepresentation, breach of contract, and

promissory estoppel against Hill-Rom based on its failure to finalize the remaining

agreements. Count VI alleges a claim of patent infringement in the event the

License Agreement is rescinded. Finally, Count VIII alleges various antitrust

violations by Hill-Rom.


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        The License Agreement granted Hill-Rom a non-exclusive license over
Versus’ Patents in exchange for a payment of $1,000,000. The Stock Agreement,
entered into on the same date, provided for sale of Versus’ stock to Hill-Rom in
return for $1,325,000.
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        Visonic contends that it was not a party to the agreement, although its
subsidiaries, Elpas and VTA were parties to the agreement.

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      Hill-Rom Services filed an Amended Complaint on April 7, 2004 in the 1227

Case adding Hill-Rom Company and Hillenbrand as plaintiffs and adding five

declaratory judgment claims [1227 Case, Doc. #5]. Hill-Rom now seeks a

declaration that: (1) Hill-Rom is not infringing Versus’ patents and the License

Agreement released any claims for infringement against Hill-Rom; (2) the License

Agreement is not rescindable and Hill-Rom has not breached the License

Agreement; (3) Hill-Rom never made any enforceable agreement with or

representations to Versus that were not reduced to writing and signed by the

parties thereto; (4) Versus has no claim against Hill-Rom for misrepresentation,

innocent misrepresentation, or promissory estoppel; and (5) Hill-Rom has not

committed any antitrust violation against Versus.

      Upon Hill-Rom’s motion, the Honorable Gordon J. Quist of the Western

District of Michigan applied the “first-to-file” rule and determined that the 1227

Case in North Carolina was filed first. Thus, on November 23, 2004, Judge Quist

entered an Order transferring the 1116 Case to this Court for determination with

the 1227 Case [1116 Case, Doc. #126]. At that time, Judge Quist also granted

Versus’ motion to amend its Complaint. On November 23, 2004, Versus filed a

Second Amended and Supplemental Complaint [1116 Case, Doc. #128] which

provided additional factual allegations on Versus’ fraud and misrepresentation

claims, added Elpas as a defendant, and identified the EIRIS Local Positioning

System (“EIRIS LPS”) as an infringing product in the district of Michigan.


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                                          II.

      On July 12, 2005, a Memorandum Order was entered directing the parties

to show why the 1227 Case and the 1116 Case should not be consolidated into a

single case before this Court [1227 Case, Doc. #62]. Hill-Rom filed a Response to

this Order [1227 Case, Doc. #67] stating it had no objection to consolidation of

the claims for purposes of discovery, but wished to reserve its position to have the

cases heard separately at trial. Versus also filed a Response to the Order, [1227

Case, Doc. #68], opposing consolidation because it would “unduly burden certain

Defendants in this case who are not parties to the Versus case,”6 and would force

additional disclosure requirements upon Defendants which will “compromise

Defendants’ arm’s length contractual relationships.” (Versus’ Res. 1.)

      Consolidation of actions pending before the court is permitted pursuant to

Federal Rule of Civil Procedure 42(a) when they involve a common question of law

or fact. Fed. R. Civ. P. 42(a); see also A/S J. Ludwig Mowinckles Rederi v.

Tidewater Const. Co., 559 F.2d 928, 933 (4th Cir. 1977). After review of the

filings in the instant cases, it appears that they involve many of the same parties

and contain common questions of law and fact. Additionally, the parties have

entered into a Consolidated Rule 26(f) Report governing discovery in both cases

[1116 Case, Doc. #191]. Any additional burden that consolidation would place on



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        Specifically, Versus’ distributers A4, Healthcare IT and SIS are not parties
to the 1116 Case.

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defendants A4, Healthcare IT, and SIS is minimal when compared to the burden on

the remaining parties and this Court in maintaining two separate cases addressing

the same claims. Additionally, any confidentiality concerns between the parties do

not require separate cases, but rather, can be addressed through a protective

order.7 Thus, pursuant to Rule 42(a), the 1227 Case and the 1116 Case will be

consolidated up to the point of trial. Fed. R. Civ. P. 42(a); see also Tidewater

Constr. Co., 559 F.2d at 933 (“District courts have broad discretion under [Fed. R.

Civ. P.] 42(a) to consolidate causes pending in the same district.”). At the time of

trial, a decision will be made whether all claims will be tried together, bifurcated in

some way, or heard by separate juries.

                                          III.

      Prior to the transfer of the 1116 Case to the Middle District of North

Carolina, Hill-Rom filed a Motion to Dismiss that case, alleging Failure to Join an

Indispensable Party [1116 Case, Doc. #26].8 Hill-Rom contends that Versus’

claims for infringement of the ‘195 and ‘791 Patents should be dismissed because

Versus does not own either of these patents. Rather, Versus has an exclusive

license for these patents, granting it all the rights of ownership until January 2007,

at which time the ownership interest will revert to its assignee, Freshloc


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       In fact, a Protective Order was recently entered in the 1116 Case [116
Case, Doc. #204].
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       In his November 23, 2004 Order transferring venue [1116 Case, Doc.
#126], Judge Quist left the decision on this motion to this Court.

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Technologies (“Freshloc”).9

      Initially, Versus opposed Hill-Rom’s motion contending that an exclusive

license of a patent is an assignment under Federal Circuit precedent,10 making the

joinder of Freshloc unnecessary. To support its position Versus cited Federal

Circuit precedent holding that an exclusive licensee has standing to sue for patent

infringement without joinder of the licensor. See Fieldturf, Inc. v. SW Recreational

Indus., 357 F.3d 1266, 1268 (Fed. Cir. 2004). Although it admitted the Federal

Circuit had not yet ruled on whether an exclusive license with a termination date or

“hard reversionary interest” is distinguishable from an exclusive license without

such a provision, Versus argued that the hard reversionary interest did not preclude

its right to sue without joinder of Freshloc.

      However, while Hill-Rom’s motion was awaiting decision by this Court, the

Federal Circuit entered its opinion in Aspex Eyewear Inc. v. Miracle Optics, Inc.,

434 F.3d 1336 (Fed. Cir. 2006). In Aspex Eyewear, the court clarified whether an

exclusive patent licensee for less than the full term of the patent can maintain an

infringement suit on the patent without joining the patent owner. Id. at 1343-44.

The Federal Circuit held that an exclusive license with a hard termination date does


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       At this point, Versus will retain a non-exclusive license to the ‘195 and
‘791 Patents.
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         “The opinions of the federal circuit are binding on federal district courts in
matters concerning patent law.” Hill Phoenix, Inc. v. Systematic Refrigeration,
Inc., 117 F. Supp. 2d 508, 511 n.3 (E.D. Va. 2000) (citing Panduit Corp. v. All
States Plastic Mfg. Co., 744 F.2d 1564, 1573 (Fed. Cir. 1984) (per curiam)).

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not transfer all of the interests in the patent to the licensee and thus it is not an

assignment of the patent. Id. (“By having the rights for only a limited portion of

the patent term, [the licensee] simply did not own the patent.”). The court

concluded that because the license is not an assignment, the owner of the patent

license is a necessary party to any lawsuit brought for infringement of that patent.

See id.

      On January 17, 2006, Hill-Rom filed an Addendum to its Motion to Dismiss

[1116 Case, Doc. #202] alerting the Court of the Federal Circuit’s opinion in Aspex

Eyewear. In response, on January 25, 2006, Versus filed a Motion for Leave to

Amend the Complaint [1116 Case, Doc. #203] seeking to join FreshLoc

Technologies as a plaintiff in light of the Aspex Eyewear decision. Hill-Rom

opposes Versus’ motion suggesting that it is untimely and would cause

unreasonable delay and uncertainty in the case.

      It is clear, however, that prior to January of 2006, the issue of whether

Freshloc was a necessary party to this action was unsettled. In fact, in Aspex

Eyewear, the Federal Circuit specifically noted that this issue was previously

undecided: “In Prima Tek II, we expressly stated that we were leaving unanswered

the question whether an agreement with a hard termination date could convey to a

licensee standing to sue.” Aspex Eyewear, 434 F.3d at 1343 n.6 (citing Prima Tek

II, L.L.C. v. A-Roo Co., 222 F.3d 1372, 1378 (Fed. Cir. 2000)). Versus’ decision

not to join Freshloc prior to Aspex Eyewear was therefore not unreasonable or in


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bad faith, but rather based on its anticipation of how the Federal Circuit would

interpret the issue. Once Versus was made aware that a decision had been

entered contrary to its position, it immediately contacted Freshloc, received

consent for service, and moved to join Freshloc as a necessary party.

      Because there is no evidence that Versus’ actions were taken in an attempt

to manipulate the case or cause undue delay, Versus motion to join the owner of

the patent, Freshloc Technologies, as a necessary plaintiff to this action will be

granted. Hill-Rom’s Motion to Dismiss for failure to join a necessary party is

therefore moot.

                                           IV.

      Hill-Rom also filed a Motion to Dismiss and/or Strike Defendants’ Sixth

Affirmative Defense and Counterclaim Counts II and V on May 19, 2004 in the

1227 Case [1227 Case, Doc. #30]. Hill-Rom contends that Defendants’ Answer

and Counterclaims fail to plead inequitable conduct with the particularity required

by Federal Rule of Civil Procedure 9(b).

      Rule 9(b) provides an exception to notice pleading for claims sounding in

fraud: “In all averments of fraud or mistake, the circumstances constituting fraud

or mistake shall be stated with particularity.” Fed. R. Civ. P. 9(b). An allegation of

inequitable conduct before the United States Patent and Trademark Office (“PTO”),




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as is made by Versus, is subject to the enhanced pleading requirements in 9(b).11

See Ferguson Beauregard/Logic Controls v. Mega Sys., LLC, 350 F.3d 1327, 1344

(Fed. Cir. 2003) (“[I]nequitable conduct, while a broader concept than fraud, must

be pled with particularity.”); Point DX Inc. v. Voxar Ltd., 2002 WL 31189696, at

*1 (M.D.N.C. Sept. 20, 2002) (“Like an allegation of fraud, an allegation of

inequitable conduct before the PTO is subject to the enhanced pleading

requirements of Rule 9(b)). A claim of inequitable conduct generally must state the

“time, place, and contents of the alleged fraudulent misrepresentation, as well as

the identity of each person making the misrepresentation and what was obtained

thereby.” Breeden v. Richmond Cmty Coll., 171 F.R.D. 189, 195 (M.D.N.C 1997);

see also Akteibolag v. Genpharm, Inc., 2000 WL 257119, at *1 (S.D.N.Y. Mar. 8,

2000) (stating pleadings of inequitable conduct generally require “an identification

of the statements alleged to be fraudulent, the speaker, where and when the

statements were made and an explanation of why the statements were

fraudulent”). The requirement found in 9(b) “is intended to give parties against

whom a charge of inequitable conduct is made specific notice of the particular

statements or omissions constituting the inequitable conduct, which thereby



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         A claim of inequitable conduct arises when a party breaches the duty of
candor, good faith and honesty required in all prosecutions of patent applications
before the PTO. Molins PLC v. Textron, Inc., 48 F.3d 1172, 1178 (Fed. Cir.
1995). A party claiming inequitable conduct must establish a failure to disclose
material information combined with an intent to deceive. Akteibolag v. Genpharm,
Inc., 2000 WL 257119, at *1 (S.D.N.Y. Mar. 8, 2000).

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ensure that they have sufficient information to formulate an appropriate response.”

Point DX Inc., 2002 WL 31189696, at *1 (citations omitted); see also Harrison v.

Westinghouse Savannah River Co., 176 F.3d 776, 784 (4th Cir. 1999) (stating

purposes of Rule 9(b)). Hill-Rom asserts that Defendants’ answer and

counterclaims fail to give any specifics concerning the inequitable conduct they

allege.

          Defendants’ Sixth Affirmative Defense reads:

          The claims asserted in the Amended Complaint are barred, in whole or
          in part, because the 035 and the 656 patents are invalid and/or
          unenforceable because Plaintiff or its predecessors in interest engaged
          in inequitable conduct in the prosecution of the 035 and the 656
          patents. (Defs.’ Answer ¶ 23.)

Similarly, Defendants’ Counterclaim Counts II and V state only: “The [035/656]

patent is unenforceable because of, among other things, Plaintiff’s inequitable

conduct is [sic] prosecuting the patent, and its misuse of its patents.” (Defs.’

Answer ¶¶ 30 & 37.)

          Defendants fail to identify who engaged in the inequitable conduct, what the

alleged misrepresentation was, or when it was made. Nothing in these allegations

provides information sufficient for Hill-Rom to formulate a response. See Point DX

Inc., 2002 WL 31189696, at *1 (dismissing claims because they gave Plaintiff’s

no notice of what the misstatements were or who made them). Because

Defendants’ pleadings clearly fall short of the particularity required by Rule 9(b),

Defendants’ Sixth Affirmative Defense and Counterclaims II and V will be


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dismissed.12

                                          V.

                                          A.

      Visonic moves for dismissal of all claims against it for lack of personal

jurisdiction in this Court [1116 Case, Doc. #138].13 See 28 U.S.C. § 1391. When

such a motion is made, the plaintiff bears the ultimate burden to show by a

preponderance of the evidence that personal jurisdiction is proper as to each

defendant. Ward v. Wavy Broad., LLC, 2003 WL 715910, at *2 (M.D.N.C. Feb.

25, 2003) (citing Combs v. Bakker, 886 F.2d 673, 676 (4th Cir. 1989)). In

considering a motion to dismiss for lack of personal jurisdiction, a court may either

evaluate the motion on the basis of the pleadings and affidavits, postpone the

decision and allow discovery on the issue, or hold an evidentiary hearing. Rich v.

KIS Cal., Inc., 121 F.R.D. 254, 259 (M.D.N.C. 1988); see also Combs v. Bakker,



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          Defendants’ claim that Hill-Rom’s motion is barred by the doctrine of
judicial estoppel is misplaced. Hill-Rom’s claim is a question of law, specifically the
pleading requirements of Federal Rule of Civil Procedure 9(b), not fact. See Havird
Oil Co. v. Marathon Oil Co., 149 F.3d 283, 292 (4th Cir. 1998) (explaining judicial
estoppel applies only in situations were (1) the party to be estopped is advancing
an assertion that is inconsistent with a position taken during a previous litigation;
(2) the position is one of fact, rather than law or legal theory; (3) the prior position
was accepted by the court in the first proceeding; and (4) the party to be estopped
acted intentionally, not inadvertently) (emphasis added).
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         Visonic also filed a Motion to Dismiss requesting dismissal of Versus
claims for lack of personal jurisdiction in Michigan [1116 Case, Doc. #59].
However, because this case has been transferred to North Carolina in its entirety,
Visonic’s previous Motion to Dismiss is now MOOT.

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886 F.2d at 676; Marine Midland Bank, N.A. v. Miller, 664 F.2d 899, 904 (2d Cir.

1981). When personal jurisdiction is examined only on the basis of motion papers

– including affidavits, legal memoranda, and the allegations of the complaint – the

plaintiff is required only to make a prima facie showing of personal jurisdiction.

Combs, 886 F.2d at 676. In determining whether a prima facie showing has been

made “the court must construe all relevant pleading allegations in the light most

favorable to the plaintiff, assume credibility, and draw the most favorable

inferences for the existence of jurisdiction.” Id. In patent cases, district courts

apply the law of the Federal Circuit to determine personal jurisdiction. See Beverly

Hills Fan Co. v. Royal Sovereign Corp., 21 F.3d 1558, 1564-65 (Fed. Cir. 1994);

Akeva L.L.C. v. Mizuno Corp., 199 F. Supp. 2d 336, 338 (M.D.N.C. 2002).

      Versus contends that personal jurisdiction over Visonic in North Carolina is

based on the acts of Visonic’s subsidiaries, Elpas and VTA. Specifically, Versus

claims that because Elpas and VTA do not challenge personal jurisdiction in North

Carolina and Visonic allegedly exercises control over its subsidiaries, jurisdiction

should be imputed to Visonic as well. In support of this contention, Versus points

to Visonic’s Prospectus which identifies the employees of Elpas and VTA as

Visonic’s employees, describes the subsidiaries as “companies over which the

Company exercises control . . . and whose accounts are consolidated with those of

the Company” (Versus’ Opp. to Visonic’s Mot. to Dismiss, Ex. A, 32), and

“advertises and promotes a subset of Visonic’s offering, including, inter alia, an


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‘Elpas Product Line’ of Readers, Badges and Tags, System Accessories, Displays,

and EIRIS Software” (Versus’ Opp. to Visonic’s Mot. to Dismiss, Ex. A, 10).

Additionally, Versus contends that Visonic was directly involved in negotiating the

agreement with Hill-Rom in North Carolina because Israel Radomsky, the CEO and

President of both Visonic and Elpas, was involved in the negotiation and execution

of that agreement.

      Visonic, however, contends that it is not subject to personal jurisdiction in

North Carolina. Visonic asserts that it does not manufacture or sell any infringing

product or any other product in North Carolina. Additionally, Visonic asserts that it

does not exercise direct control over the day-to-day activities of either Elpas or

VTA but rather retains control only over the setting of the strategic policy of its

subsidiaries. Finally, Visonic disputes Versus’ claim that it participated in the

contract negotiations with Hill-Rom in North Carolina. Rather, Visonic explains that

Mr. Radomsky serves as the President and CEO of Elpas as well as the President

and CEO of Visonic, and his participation in the negotiations and execution of the

supply agreement between Hill-Rom, Elpas, and VTA was on behalf of Elpas.14

      Versus relies primarily on Akeva L.L.C. v. Mizuno Corp., to support its

contention that personal jurisdiction exists over Visonic. 199 F. Supp. 2d at 336.

In Akeva, this Court (Osteen, J.), applying the law of the Federal Circuit, held that

minimum contacts existed between a Japanese corporation and North Carolina


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           Visonic also states that Elpas paid for Mr. Radomsky’s travel expenses.

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sufficient to satisfy due process. Id. at 341. The Japanese corporation, Mizuno

was found to be subject to personal jurisdiction in North Carolina because of the

actions of its subsidiary, Mizuno USA, which manufactured and marketed the

allegedly infringing product. Id. at 340. The court noted that Mizuno “does

participate to some degree in the Mizuno USA’s manufacture and marketing of the

allegedly infringing products,” and held that because it created a distribution

channel to exploit the North American market through its subsidiary, Mizuno USA,

minimum contacts were present.15 Id. at 341; see also Beverly Hills, 21 F.3d at

1566 (finding personal jurisdiction over Chinese corporation that made ceiling fans

that were then imported by a New Jersey corporation because “[t]he defendants,

acting in consort, placed the accused fan in the stream of commerce, they knew

the likely destination of the products, and their conduct and connections with the

forum state were such that they should have reasonably have anticipated being

brought into court there”).


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         Specifically, the court noted that although Mizuno does not ship goods to
Mizuno USA, Mizuno’s trademarks and technical information, including any
patents, are licensed to Mizuno USA for use in the North and South American
markets. Id. Additionally:
      [t]wo of Mizuno’s employees are assigned to Mizuno USA’s Georgia
      headquarters and provide marketing and product development
      assistance. Other Mizuno employees travel regularly to Georgia, and
      sometimes to other parts of the United States, to assist Mizuno USA.
      In addition, Mizuno and its subsidiaries provide manufacturing support
      to Mizuno USA outside of the United States. Most relevant here,
      Mizuno USA uses Mizuno’s Hong Kong subsidiary to monitor the
      Chinese factories which are contracted to manufacture the allegedly
      infringing athletic shoes for Mizuno USA. Id.

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      Similarly, In Dainippon Screen Manufacturing Co. v. CFMT, Inc., 142 F.3d

1266 (Fed. Cir. 1998), the Federal Circuit held that personal jurisdiction over a

holding company was proper when the holding company exercised sufficient

control over its subsidiary. Id. at 1271. The holding company in Dainippon Screen

licensed its subsidiary to make, use, and sell products covered by its patents and

from that agreement derived substantial licensing revenues. Id. The holding

company also had exclusive authority to negotiate any sublicense and instigate

litigation regarding the patents. Id. at 1270. Additionally, the holding companies’

officers, although they held positions at both the parent and its subsidiary, made

representations with regard to the infringement that “could only have been made

on behalf of the [parent holding company].” Id. at 1270.

      The facts of both Akeva and Dainippon Screen, however, are distinguishable

from this case. Here, Versus has produced no evidence that Visonic exercises

control over the activities of Elpas or VTA16 or that Visonic oversees Elpas’



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          Versus reliance on Visonic’s statement in its Prospectus that it “controls”
its subsidiaries is misplaced. The Prospectus clearly defines “controls” as “The
power to govern the financial and operating policies of an enterprise so as to obtain
benefits from its activities.” (Visonic 2004 Prospectus, 32 (citing International
Accounting Standards 27.4).) This statement, however, discusses only policy
setting and financial oversight and does not state that Visonic is involved in the
“day-to-day” activities of its subsidiaries or the manufacturing of the allegedly
infringing product. See Conwed Corp. v. R.J. Reynolds Tobacco Co., 1999 U.S.
Dist. LEXIS 9641, at *10-14 (D. Minn. April 1, 1999) (finding no personal
jurisdiction over a tobacco holding company even though its was involved in
“strategic planning” for its subsidiaries because it did not manufacture or distribute
cigarettes).

                                         19




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manufacturing or VTA’s distribution of the allegedly infringing product. See, e.g.,

Red Wing Shoe Co. v. Hockerson-Halbertstadt, Inc., 148 F.3d 1355, 1357, 1359-

62 (Fed. Cir. 1998) (dismissing patent holder defendant for lack of personal

jurisdiction because it did not manufacture anything itself, but rather licensed its

patents to independent distributers over which it had no control); Benjamin Obdyke

Inc. v. Owens Corning, 2004 WL 870701, at *2-3 (E.D. Pa. March 29, 2004)

(dismissing holding company from lawsuit because its relationship to the infringing

product which was manufactured by its subsidiary was “too attenuated to confer

personal jurisdiction”).

      There is also no evidence that Visonic had control over Elpas’ or VTA’s

entrance into the agreement with Hill-Rom which gave rise to Versus’ claims of

patent infringement. Although Visonic shares a president and CEO with Elpas,

Visonic was not a party to that contract, nor is there any evidence that Mr.

Radomsky’s participation in the agreement was on behalf of Visonic. Cf.

Dainippon Screen, 142 F.3d at 1270 (acknowledging the ability of agents to hold

positions at both a parent and subsidiary, but finding personal jurisdiction over

parent because the evidence showed the agents’ activities were on behalf of the

parent and not the subsidiary). Additionally, although Visonic advertises the

products produced by its subsidiaries, both its website and other promotional

materials are carefully worded to maintain the separate identities of the corporate




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entities.17

       Because Versus has not shown that Visonic maintains control over either

Elpas or VTA sufficient to impute personal jurisdiction in North Carolina, Visonic

will be dismissed for lack of personal jurisdiction.18

                                           B.

       In the alternative, Versus contends that jurisdiction is proper under Federal

Rule of Civil Procedure 4(k)(2). Rule 4(k)(2) provides that a federal court may

exercise jurisdiction in cases “arising under federal law” when the defendant is not

subject to personal jurisdiction in any state court, but has contacts with the United

States as a whole. Base Metal Trading, Ltd. v. OJSC “Novokuznetsky Aluminum




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         For example, Visonic’s website (www.visonic.com) clearly indicates that
the U.S. market is administered by it subsidiaries. Each reference to specific
products on the Visonic website is accompanied by an identification of the
corresponding subsidiary which manufactures that product making it clear that
these are not Visonic products. Additionally, the prospectus identifies Visonic as
the “holding company” and identifies Elpas and VTA as separate subsidiaries of
Visonic.
       18
          Although it is not necessary to pierce the corporate veil to find personal
jurisdiction over a parent company defendant, see Akeva, 199 F. Supp. 2d at 341,
it is worth noting that Versus has provided no evidence that Visonic and Elpas
failed to maintain separate corporate entities, that Visonic controlled the day-to-day
activities of Elpas or VTA, or that Elpas was under capitalized. See Broussard v.
Meineke Disc. Muffler Shops, Inc., 155 F.3d 331, 349-50 (4th Cir. 1998)
(explaining that North Carolina requires a showing of inadequate capitalization,
disregard of corporate formalities, parent’s day-to day involvement in operations of
subsidy, or parent’s subsidiaries are excessively fragmented into separate
corporations to support piercing of the corporate veil).

                                           21




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Factory,” 283 F.3d 208, 215 (4th Cir. 2002).19 However, “[a] plaintiff who seeks

to invoke Rule 4(k)(2) as a basis for jurisdiction must show that (1) the claim

‘arise[s] under federal law;’ (2) the defendant is ‘not subject to the jurisdiction of

the courts of general jurisdiction of any state;’ and (3) the court’s exercise of

jurisdiction would be ‘consistent with the Constitution and laws of the United

States.’” Id. (citing Fed. R. Civ. P. 4(k)(2)).

       It is undisputed that patent claims “arise under” federal law. However, for

jurisdiction over Visonic to be proper under Rule 4(k)(2), Versus must also

demonstrate that Visonic is not subject to general jurisdiction in any state and that

Visonic’s contacts with the United States as a whole support the exercise of

jurisdiction consistent with the Constitution and law of the United States. Id.

(citing United States v. Swiss Am. Bank, Ltd., 191 F.3d 30, 41, 45 (1st Cir.

1999); Fed. R. Civ. P. 4(k)(2) advisory committee note). Versus has failed to

provide evidence of either.

       First, Versus has failed to show that Visonic is not subject to personal

jurisdiction in any state. See Saudi v. Northrop Grumman Corp., 221 F.R.D. 452,

457-58 (E.D. Va. 2004) (“The Plaintiff bears the burden of proving that [the

Defendant] is not subject to the general jurisdiction of any state by a



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         Visonic’s contention, that this argument is inconsistent with Versus’ claim
that personal jurisdiction over Visonic is proper in North Carolina, is flawed. “[I]t is
generally permissible for a litigant to present inconsistent alternate positions in a
case.” Base Metal Trading, 283 F.3d at 215.

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preponderance of the evidence.”) (citing Combs, 886 F.2d at 676). Visonic

suggests that it may be subject to personal jurisdiction in Connecticut. Indeed,

Visonic’s website lists a Bloomfield, Connecticut address as its North American

location and its subsidiaries are located in Connecticut. See Saudi, 221 F.R.D. at

457-58 (finding that defendant’s maintenance of an office for service in New York

and its business activities in New Jersey suggest that defendant might be subject

to the general jurisdiction of the courts in those states under Rule 4(k)(2)). Versus,

however, responds only that Visonic should not be permitted to argue it is not

subject to jurisdiction in North Carolina because of its subsidiaries, but is subject to

personal jurisdiction in Connecticut because of those same subsidiaries. This

contention, however, ignores the distinction between specific and general

jurisdiction. Although sufficient control by Visonic over its subsidiaries was not

found to support imputing specific jurisdiction in North Carolina, it is entirely

possible that Visonic’s contacts with its subsidiaries combined with its

identification of its offices there, might be sufficient contacts with Connecticut to

support a finding of general jurisdiction. See Saudi v. Northrop Grumman Corp.,

427 F.3d 271, 276 (4th Cir. 2005) (explaining general jurisdiction is available

when a defendants contacts with the forum are “continuous and systematic”).

Thus, Versus has failed to meet is burden of proving Visonic is not subject to

personal jurisdiction in any state.

      Second, Versus has failed to proffer sufficient evidence to demonstrate that


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Visonic’s contacts with the United States as a whole are sufficient to satisfy due

process. Versus asserts only “Visonic has sufficient interaction with the U.S.

market, including its control over its U.S. subsidiaries, to more than satisfy the Due

Process requirements underlying rule 4(k)(2).” (Versus’ Opp’n to Mot. to Dismiss

15.) However, besides its status as the holding company for Elpas and its

subsidiary VTA, see Saudi, 427 F.3d at 276 (holding that the location of a

subsidiary in the United States was not sufficient to show “continuous and

systematic contacts” with the United States under Rule 4(k)(2) because it is

generally the case that the contacts of a corporate subsidiary cannot impute

jurisdiction to its parent entity), Versus has provided no evidence that Visonic’s

contacts with the United States are constitutionally sufficient. See Base Metal

Trading, 283 F.3d at 215-16 (holding that plaintiff’s unsubstantiated statements of

extensive business contacts in the United States are insufficient when they offer

no concrete evidence of what those business transactions are); Saudi, 427 F.3d at

276 (“[Plaintiff] provides virtually no evidence that [defendant] maintains a

continuous presence in the United States, and instead offers only isolated contacts

with Texas and New Jersey.”).

      Therefore, Versus has failed to satisfy the requirements of Rule 4(k)(2), and

Visonic will be dismissed as a party to this case.

                                         VI.

      Hill-Rom also moves for dismissal of Counts II-VI of Versus’ Second


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Amended Complaint for failure to state claims upon which relief can be granted

under Federal Rule of Civil Procedure 12(b)(6) [1116 Case, Doc. #141].20

                                          A.

      Counts II, III, IV and V of the Amended Complaint respectively allege

fraudulent misrepresentation, innocent misrepresentation, breach of contract, and

promissory estoppel, all stemming from the negotiation and execution of the Non-

Exclusive Patent License Agreement.21 Hill-Rom, however, contends that these

claims are barred by the written merger/integration clause contained in the License

Agreement because they are all based on alleged contract terms and agreements

not contained in the License Agreement.

      To determine whether the terms of the License Agreement bar Versus’

claims in Counts II-VI, the Court must first determine which state’s law is to be

applied to interpret the terms of the contract. Although both parties assume that

Michigan law applies, it is not clear from the agreement or the Complaint that this

assumption is correct.



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         Hill-Rom previously filed a Motion to Dismiss Counts II, III, and IV of
Versus’ Complaint [1116 Case, Doc. #19]. However, upon leave from Judge
Quist, Versus filed a Second Amended and Supplemental Complaint curing the
alleged deficiencies in Counts II and III. Additionally, Hill-Rom reasserted its
request that Count IV be dismissed in its subsequent Motion to Dismiss. Thus,
Hill-Rom’s initial Motion to Dismiss Count II, III, and IV is now MOOT.
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        Counts II, III, IV and V of the Amended Complaint in the 1116 Case are
the same as Hill-Rom’s Declaratory Judgment Counts III, IV and V in the Amended
Complaint in the 1227 Case.

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      A federal court sitting in diversity applies the substantive law of the state in

which it sits, including the state’s choice-of-law rules. See Erie R.R. Co. v.

Tompkins, 304 U.S. 64, 79, 58 S. Ct. 817 (1938); Klaxon Co. v. Stentor Elec.

Mfg. Co., 313 U.S. 487, 496, 61 S. Ct. 1020 (1941) (observing that a forum

state’s choice-of-law rules are substantive); Volvo Const. Equip. N.A., Inc. v. CLM

Equip. Co., 386 F.3d 581, 599-600 (4th Cir. 2004). Generally, when a case is

transferred from one federal court to another pursuant to 28 U.S.C. § 1404(a), the

transferee court applies the choice-of-law rules that the transferor court would

have applied. See Van Dusen v. Barrack, 376 U.S. 612, 632-37, 84 S. Ct. 805

(1964); Volvo, 386 F.3d at 600. However, in Volvo Construction Equipment North

America, Inc., the Fourth Circuit distinguished transfer for the convenience of the

witnesses pursuant to § 1404 from cases like the present where transfer is made

pursuant to the first-filed doctrine. Id. at 600. Although the Fourth Circuit did not

reach the issue because it determined that both forum’s choice-of-law rules were

identical, the Volvo opinion strongly suggests application of choice-of-law rules of

the forum where the litigation was first filed is proper. Id. at 600-01 (noting the

necessity of applying only one state’s law and concluding “in the interest of

simplicity, and because it will not affect the outcome of this proceeding, we will

approach this dispute through the prism of North Carolina’s choice-of-law rules”).

Because, in this case, the1227 Case was first filed in North Carolina, North

Carolina choice-of-law rules will be applied to determine which law governs the


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contract between the parties.

      Hill-Rom’s motion to dismiss states that Michigan law controls the

interpretation of the License Agreement between the parties. (Hill-Rom’s Mot. to

Dismiss 7.) To support this contention, however, Hill-Rom cites only to a choice-

of-law provision located in the Stock Purchase Agreement. (Hill-Rom’s Mot. to

Dismiss 3.) Under North Carolina law, “[t]he parties’ choice of law is generally

binding on the interpreting court as long as they had a reasonable basis for their

choice and the law of the chosen State does not violate a fundamental public

policy of the state or otherwise applicable law.” Torres v. McClain, 535 S.E.2d

623, 625 (N.C. Ct. App. 2000) (internal citations omitted) (citing Restatement

(Second) of Conflict of Laws § 187 (1971)); see also Volvo, 386 F.3d at 600-01.

However, although the choice-of-law provision in the Stock Purchase Agreement

identifies Michigan Law as governing that agreement, there is not a similar

provision in the License Agreement. Additionally, there is no language in either

agreement suggesting that the choice of law provision of one would govern the

other. Thus, the License Agreement must be viewed as not containing a choice-of-

law provision.

      In the absence of a choice-of-law provision in the contract, the “validity and

interpretation of a contract is generally governed by the law of the state in which

the contract was formed.” See Rizoti v. Plemmons, 2003 WL 22871676, at *2

(4th Cir. Dec. 5, 2003) (citing Tanglewood Land Co. V. Byrd, 261 S.E.2d 655,


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656 (N.C. 1980)).22 This traditionally involves an analysis of where the last act

that made the contract binding was performed. See Fortune Ins. Co. v. Owens,

526 S.E.2d 463, 466 (N.C. 2000) (“[The principle of lex loci contractus mandates

that the substantive law of the state where the last act to make a binding contract

occurred . . . controls the interpretation of the contract.”). The place where the

last act was performed is determined by the “place at which the last act was done

by either of the parties essential to a meeting of the minds.” Key Motorsports, Inc.

v. Speedvision Network, L.L.C., 40 F. Supp. 2d 344, 347 (M.D.N.C. 1999)

(quoting Fast v. Gulley, 155 S.E.2d 507, 510 (N.C. 1967)). Here, Versus, a

Delaware corporation with its principle place of business in Michigan, alleges

breach of a contract by Hill-Rom, a Delaware corporation located in Indiana.

Additionally, the Complaint mentions that some negotiations of the contract took

place at Hill-Rom’s North Carolina location. However, the record fails to provide

any more information as to where the last act essential to a meeting of the minds

took place by any of the parties. Although the signatures on the License

Agreement are contained on separate pages, suggesting it was signed at different

times and/or locations, neither signature contains any accompanying date, time, or

location. Without such information, it is not possible to determine where the



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        This general rule, however, does not apply when “a contract is to be
performed wholly outside of the state in which the contract was made . . . In that
circumstance the law of the place of performance governs.” Rizoti, 2003 WL
22871676, at *2 (citing Cocke v. Duke Univ., 131 S.E.2d 909, 913 (N.C. 1963)).

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contract was “formed” under North Carolina’s choice-of-law rules.

       The North Carolina choice-of-law rules applicable to tort claims, such as

Versus claims of fraudulent and innocent misrepresentation, differs from that

applicable to contract claims. See Brendle v. General Tile & Rubber Co., 408 F.2d

116, 117 n.3 (4th Cir. 1969). In tort claims, North Carolina adheres to the

doctrine of lex loci delicti which provides that the law of the “place of the wrong”

controls and the place of the wrong is the locale in which “the last event necessary

to make a defendant liable for an alleged tort occurs.” Id.; accord McElmurry v.

Alex Fergusson, Inc., 2006 WL 572330, at *10 (M.D.N.C. March 8, 2006). Here,

the last event necessary to render Hill-Rom liable, the financial injury incurred by

Versus as a result of Hill-Rom’s alleged infringement, occurred in Michigan where

Versus is based. McElmurry, 2006 WL 572330, at *10 (holding that because

plaintiff’s economic loss was felt in North Carolina, North Carolina law would

apply) (citing ITCO Corp. v. Michelin Tire Corp., 722 F.2d 42, 49 n.11 (4th Cir.

1983) (noting that financial injuries sustained by “a North Carolina corporation with

its principle place of business in North Carolina . . . were sustained in the state of

North Carolina”)). Thus, Michigan law will be applied to determine whether Versus

has stated a claim against Hill-Rom for fraudulent or innocent misrepresentation.

      To establish a claim for either fraudulent or innocent misrepresentation under

Michigan law, a plaintiff is required to show reasonable reliance. See Dedvukaj v.

Equilon Enter. L.L.C., 301 F. Supp. 2d 664, 671 (E.D. Mich. 2004). However,


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“[r]eliance upon oral representations or prior documents, even if false, is

unreasonable if the party enters into a subsequent agreement.” Cook v. Little

Caesar Enter., Inc., 210 F.3d 653, 658 (6th Cir. 2000) (holding that the signing of

the franchise agreement with a merger/integration clause precluded plaintiff’s claim

of reasonable reliance on prior representations for both his fraudulent and innocent

misrepresentation claims) (citing 3 P.M. Inc. v. Basic Four Corp., 591 F. Supp.

1350, 1366 (E.D. Mich. 1984) (interpreting Michigan law and holding that a

plaintiff may not reasonably rely on prior oral statements that directly contradict

the terms of a written contract)). In this case, the License Agreement entered into

by Versus contains a merger/integration clause. Thus, before the sufficiency of

Versus’ tort claims can be evaluated, the License Agreement must be interpreted to

determine the effect of that clause. Because sufficient information regarding the

applicable law to be applied to interpret License Agreement is not available at this

time, see supra VI(A), Hill-Rom’s Motion to Dismiss Counts II, III, IV, and V of the

Second Amended Complaint will be denied.



                                          B.

      Hill-Rom also moves to dismiss Count VI of Versus’ Second Amended

Complaint contending that the Court lacks subject matter jurisdiction over this

claim. Count VI alleges:

      In the event that the Patent License is rescinded, [Hill-Rom] and
      Visonic are without the protection of the release and the license of the

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      Patent License, and [Hill-Rom] has infringed at least one claim of each
      of the 314, 195, 139 and 791 Patents by, at least, directly making,
      using, selling and/or offering to sell during the period of at least six
      years prior to the date of this Complaint, the COMposer
      Communication System which has included locator badges, and [Hill-
      Rom] and Visonic have infringed at least one claim of each of the 314,
      195, 139 and 791 Patents by, at least, directly making, using, selling
      and/or offering to sell COMLinx, including those actions within the
      scope of the Patents claims which would have been licensed by the
      Patent license but for the rescission of the Patent License, and/or
      inducing or contributing to the infringement of the Patent Claims.

(1116 Case, 2d Am. Compl. ¶ 82.) Hill-Rom contends this is a hypothetical claim

and thus is not a “case or controversy” ripe for consideration by this Court. See

U.S. Const. art. III § 2; Gasner v. Bd of Supervisors, 103 F.3d 351, 360-61 (4th

Cir. 1996) (“Article III of the Constitution limits the judicial power of the United

States to the resolution of ‘cases’ and ‘controversies.’”) (quoting Valley Forge

Christian Coll. v. Am.’s United for Separation of Church and State, Inc., 454 U.S.

464, 471, 102 S. Ct. 752 (1982)).

      Hill-Rom’s contention that hypothetical claims where the injury has not yet

occurred do not satisfy the requirements of Article III of the Constitution is entirely

correct. Gasner, 103 F.3d at 360. However, Hill-Rom misunderstands the nature

of Versus’ claim in Count VI. Rather than making a claim that some injury may

happen in the future, Versus is claiming that the injury – the infringement of its

patents without a valid license – has already occurred. In Gasner v. Board of

Supervisors, the Fourth Circuit dismissed a plaintiff’s claim as hypothetical because

the plaintiff failed to assert in the complaint that the interest was in fact taxable,


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but rather alleged only “if it be later deemed” taxable. Id. at 360-61. Versus,

however, has explicitly made a claim that the License Agreement is invalid and

should be rescinded. Then, Versus alleges that because Hill-Rom does not possess

a valid license to do so, it is infringing on its patents. The determination that the

License Agreement is invalid is not a hypothetical claim, but rather a precondition

to Versus’ infringement claim. See, e.g., Rhone-Poulenc Agro, S.A. v. DeKalb

Genetics Corp., 272 F.3d 1335 (Fed. Cir. 2001) (explaining that the district court

bifurcated the case into two different jury trials because the trade secret and

patent issues were dependent on the outcome of the fraud and licensing issues),

vacated, 538 U.S. 974 (2003), reaffirmed on remand, 345 F.3d 1366 (Fed. Cir

2003), cert. denied, 540 U.S. 1183, 124 S. Ct. 1423 (2004). Because Versus’

patent infringement claim in Count VI is not hypothetical, Hill-Rom’s Motion to

Dismiss Count VI for lack of subject matter jurisdiction will also be denied.

                                          VII.

      Visonic Ltd. and Visonetix Ltd. also move to dismiss Versus’ Third Party

Complaint against them in the 1227 Case.23 Visonic Ltd. and Visonetix Ltd

contend that on January 5, 2005, Visonic Ltd. and Visonetix Ltd assigned all of

their rights in the ‘471 patent to Visonic Technologies, Ltd. These assignments

were recorded with the U.S. Patent and Trademark Office. (Defs.’ Mot. to Dismiss

3d Party Compl., Ex. A.) Subsequent to this assignment, on January 28, 2005,


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           No opposition as has been filed to Defendants’ Motion to Dismiss.

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Versus filed its Third Party Complaint for declaratory judgment adding Visonic Ltd.

and Visonetix Ltd. as third party defendants in this action. Because these

defendants retained no interest in the ‘471 patent after assignment, there is no

longer a case or controversy remaining and Visonic Ltd and Visonetix Ltd will be

dismissed pursuant to Rule 12(b)(1) of the Federal Rule of Civil Procedure. See

Foseco, Inc. v. Consol. Aluminum Corp., 1989 WL 138663, at *1-2 (E.D. Mo.

April 13, 1989) (dismissing third party complaint for lack of subject matter

jurisdiction because a case or controversy no longer existed given that patent-in-

issue has been assigned); c.f. DSM Resins, U.S., Inc. v. EMS- Am. Grilon Inc.,

1990 WL 116890, at *1 (D.S.C. Feb. 28, 1990) (citing Proctor & Gamble Co. v.

Kimberly-Clark Corp, 684 F. Supp. 1403, 1404 (N.D. Tex 1987) (complete

assignment of rights in patent divests assignor of ownership, entitling assignee to

sue without joining assignor)).

                                        VIII.

      Finally, in its motion filed on January 26, 2006, Hill-Rom requests leave to

amend its Complaint to add Patient Care Technology Systems, LLC (“PCTS”) as a

Defendant [1227 Case, Doc. #73]. In support of its motion Hill-Rom explains it

has recently become aware that PCTS acquired Defendant HIT at the end of 2004.

Hill-Rom believes this acquisition involved an accused product previously developed

and marketed by HIT. Additionally, Hill-Rom contends that although it is unaware

of the exact corporate status of HIT, it continues to exist in some form after the


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acquisition. Hill-Rom has contacted Defendant seeking consent to the addition of

PCTS on several occasions and received no response. Additionally, no response

has been filed to Hill-Rom’s motion with this Court. Thus, Hill-Rom’s unopposed

motion to add PCTS as a defendant in this matter will be granted. See Fed. R. Civ.

P. 15(a) (“leave [to amend] shall be freely given when justice so requires”).

                                         IX.

      For the foregoing reasons, the 1116 Case will be consolidated with the

1227 Case up to the point of trial. At that time the issue will be revisited.

      Versus’ Motion for Leave to Amend Complaint to Join a Necessary Party

[1116 Case, Doc. #203] will be GRANTED. Thus, Hill-Rom’s Motion to Dismiss for

Failure to Join an Indispensable Party [1116 Case, Doc. #26] is now MOOT.

      Hill-Rom’s Motion to Dismiss and/or Strike Versus’ Sixth Affirmative Defense

and Counterclaim Counts II and V [1227 Case, Doc. #30], will be GRANTED, and

Hill-Rom’s unopposed Motion to Amend Complaint to Add Defendant Patient Care

Technology Systems, LLC [1227 Case, Doc. #73] will be GRANTED.

      Visonic’s Motion to Dismiss for Lack of Personal Jurisdiction [1116 Case,

Doc. #138] will be GRANTED and Visonic Technologies, Ltd. will be DISMISSED as

a party to this case. Additionally, Third Party Defendants’ unopposed Motion to

Dismiss Party [1116 Case, Doc. #166] will be GRANTED and the claims against

Visonic Ltd. and Visonetix Ltd. will be DISMISSED.

      Finally, Hill-Rom’s Motion to Dismiss Counts II through VI of Versus’


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Complaint [1116 Case, Doc. #140] will be DENIED at this time.

      This the day of June 2, 2006



                                             /s/ N. Carlton Tilley, Jr.
                                           United States District Judge




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